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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA

MCNEESE STATE UNIVERSITY                   *     CIVIL ACTION NO.: 22-CV-5173
FOUNDATION
                                           *
VERSUS                                     *     JUDGE DAVID C. JOSEPH
                                           *
SUBWAY REAL ESTATE, LLC OF                 *     MAGISTRATE JUDGE LEBLANC
DELAWARE


                       ORDER OF DISMISSAL WITH PREJUDICE

         Considering the Joint Motion to Dismiss with Prejudice of Plaintiff, McNeese State

University Foundation, and Defendant, Subway Real Estate, LLC:

         IT IS QRDERED AND ADJUDGED that the Joint Motion to Dism iss 1s

GRANTED.

         IT IS FURTHER ORDERED that each party shall bear its own costs and attorney

fees.

         THUS DONE AND SIGNED in Chambers on this 8th day of July, 2024.



                                                 _________________________________
                                                 DAVID C. JOSEPH
                                                 UNITED STATES DISTRICT JUDGE




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